                                                                  JS-6 ID #:1155
Case 2:20-cv-10605-FMO-ADS Document 20 Filed 11/30/21 Page 1 of 1 Page




     1                        UNITED STATES DISTRICT COURT
     2                      CENTRAL DISTRICT OF CALIFORNIA
     3
                                      WESTERN DIVISION
     4
     5
     6   ANGELO T. GULLOTTI,                            ) No. 2:20-CV-10605-FMO-ADS
                                                        )
     7         Plaintiff,                               ) ___________
                                                        ) [PROPOSED] JUDGMENT
     8                v.                                )
                                                        )
     9                                                  )
         KILOLO KIJAKAZI, Acting                        )
    10   Commissioner of Social Security,               )
                                                        )
    11                                                  )
         Defendant.                                     )
    12                                                  )
                                                        )
    13                                                  )
                                                        )
    14
    15         Having approved the parties’ joint stipulation to voluntary remand
    16   pursuant to sentence four of 42 U.S.C. § 405(g) and to entry of judgment, THE
    17   COURT ADJUDGES AND DECREES that judgment is entered for Plaintiff.
    18
    19
    20
         Date: November 30, 2021                  /s/ Autumn D. Spaeth
                                              HON. AUTUMN D. SPAETH
    21                                        U.S. MAGISTRATE JUDGE
    22
    23
    24
    25
    26
    27
    28




                                                -1-
